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                               BLAZIN WINGS, INC.; BUFFALO WILD
                    13         WINGS, INC.; INSPIRE BRANDS, INC.
                    14
                                                      UNITED STATES DISTRICT COURT
                    15
                                                   SOUTHERN DISTRICT OF CALIFORNIA
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                               CASSANDRA LACKMAN, an                  Case No. 3:20-cv-01256 BEN AHG
                    18         individual,
                                                                      Judge: Roger T. Benitez
                    19                        Plaintiff,              Magistrate Judge: Allison H. Goddard
                    20         v.
                                                                      JOINT MOTION TO CONTINUE
                    21         BLAZIN WINGS, INC., a corporation;     FINAL PRETRIAL CONFERENCE
                               BUFFALO WILD WINGS, INC., a            AND RELATED DATES
                    22         corporation; INSPIRE BRANDS, INC.,
                               a corporation and DOES 1-25,
                    23         inclusive,                             Complaint Filed: June 2, 2020
                    24                        Defendants.
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LITTLER MEND ELSO N, P.C.
       501 W. Broadway
           Suite 900           JOINT MOTION TO CONTINUE FINAL                               3:20-CV-01256 BEN AHG
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                       Case 3:20-cv-01256-BEN-AHG Document 69 Filed 06/27/22 PageID.1717 Page 2 of 3



                       1             Plaintiff CASSANDRA LACKMAN (“Plaintiff”), and Defendants BLAZIN
                       2       WINGS, INC., BUFFALO WILD WINGS, INC., and INSPIRE BRANDS, INC.
                       3       (“Defendants”) (collectively the “Parties”) by and through their respective counsel of
                       4       record and following discussions at the Mandatory Settlement Conference, hereby
                       5       submit the following Joint Motion to continue the Final Pretrial Conference and
                       6       related dates from July 25, 2022 by 45 days to approximately September 12, 2022.
                       7             The Parties participated in and met and conferred following the Mandatory
                       8       Settlement Conference. In light of the Parties’ interest in participating in mediation
                       9       and securing a date with Mediator Joann Rezzo for July 25, 2022, the Parties propose
                    10         and submit that good cause exists to continue the Final Pretrial conference to August
                    11         29, 2022 (or another date that is convenient to the Court’s calendar approximately 45
                    12         days later). The Parties request the related pretrial conference deadlines likewise be
                    13         continued 45 days so the Parties may focus their attention on resolution and
                    14         accordingly, request this Court likewise extend the Rule 26(a)(3) deadlines by a
                    15         period of 45 days such that should the Parties be unable to resolve the matter, the
                    16         exhibit and witness list exchange would continue on approximately August 15, 2022;
                    17         the Rule 16.1(f)(4) meeting on approximately August 22, 2022; initial pretrial order
                    18         exchange on August 29, 2022; and Final Pretrial Conference Order and objections be
                    19         due on or about September 6, 2022.
                    20               NOW THEREFORE, Plaintiff and Defendants hereby submit that good cause
                    21         exists, and based thereon, respectfully request this Court issue an order continuing the
                    22         remote Final Pretrial Conference to September 12, 2022 at 10:30 a.m., (or another
                    23         date that is convenient to the Court) before District Judge Order Benitez, and all other
                    24         dates be continued accordingly.
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                       Case 3:20-cv-01256-BEN-AHG Document 69 Filed 06/27/22 PageID.1718 Page 3 of 3



                       1       Dated: June 27, 2022                      /s/Laura Kelleher
                                                                         Susan M. Swan
                       2                                                 Laura M. Kelleher
                                                                         SWAN EMPLOYMENT LAW
                       3                                                 Attorneys for Plaintiff
                                                                         CASSANDRA LACKMAN
                       4
                               Dated: June 27, 2022                      /s/ Brittany L. McCarthy
                       5                                                 Stacey E. James
                                                                         Brittany L. McCarthy
                       6                                                 LITTLER MENDELSON, P.C.
                                                                         Attorneys for Defendants
                       7                                                 BLAZIN WINGS, INC.; BUFFALO
                                                                         WILD WINGS, INC.; INSPIRE
                       8                                                 BRANDS, INC.
                       9
                                                       SIGNATURE CERTIFICATION
                    10
                                     Pursuant to Section 2(f)(4) of the Court’s Electronic Case Filing Administrative
                    11
                               Policies and Procedures Manual, I hereby certify that the content of this document is
                    12
                               acceptable to Laura Kelleher, counsel for Plaintiff Cassandra Lackman, and I have
                    13
                               obtained Ms. Kelleher’s authorization to affix her electronic signature to this
                    14
                               document.
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                                                                            /s/ Brittany McCarthy
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                                                                            Brittany L. McCarthy
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